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  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT
                                                                       for the
                                                                                                           -.. -
                                                          Southern District of Georgia
                                                             Statesboro Division
                    United States of America
                                  V.
                                                                        ) Case No: CR605-00009-001
                         Donald Whitehead
                                                                        ) USMNo: 12275-021
Date of Previous Judgment: December 7, 2005                      _______ ) Jay Stewart
(Use I)ate of Last Amended Judgment if Applicable)                      ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant flthe Director of the Bureau of Prisons      the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of' imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENTED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    thelast judgment issued) of _________________ months is reduced to __________________________

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                       29                           Amended Offense Level:      29
Criminal History Category:                    VI                           Criminal History Category:  VI
Previous Guideline Range:              151     to 1 88 months              Amended Guideline Range: 151 to 188 months
H. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
Eli The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.




III. ADDITIONAL COMMENTS

The Court notes that this defendant is a career offender, pursuant to U.S.S.G. § 4131 .1. The amendment to the crack
cocaine guideline does not impact this defendant's guideline computations for that reason.


Except as provided above, all provisions of the judgment dated _____________________ shall remain in effect.
IT IS SO ORDERED.

OrderDate:                                                                 ________________________
                                                                                    Judge s sig


                                                                           B. Avant Edenfield
Effective Date:                                                            United States District Judge
                                                                           For the Southern District of Georgia
                     (if different from order date)                                         Printed name and title
